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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                   4:13CR3122

       vs.
                                                         MEMORANDUM AND ORDER
MARY E. MERKEL,

                      Defendants.


              Defendant Merkel has moved to continue the pretrial motion deadline, (filing no.
29), because the defendant has recently received additional discovery from the government and
needs to review that discovery before deciding if pretrial motions should be filed. The motion to
continue is unopposed. Based on the showing set forth in the motion, the court finds the motion
should be granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant Merkel’s motion to continue, (filing no. 29), is granted.

       2)     As to all defendants, pretrial motions and briefs shall be filed on or before March
              13, 2014.

       3)     As to all defendants, trial of this case remains scheduled to commence on April
              14, 2014.

       4)     The ends of justice served by granting the motion to continue outweigh the
              interests of the public and the defendants in a speedy trial. Accordingly, as to all
              defendants, the additional time arising as a result of the granting of the motion,
              the time between today’s date and March 13, 2014, shall be deemed excludable
              time in any computation of time under the requirements of the Speedy Trial Act,
              because despite counsel’s due diligence, additional time is needed to adequately
              prepare this case for trial and failing to grant additional time might result in a
              miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

       February 21, 2014.
                                                    BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
